Case No. 1:23-cv-01607-CNS-STV Document 52 filed 09/13/23 USDC Colorado pg 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01607-CNS-STV

  ESTATE OF ABBY ANGELO, et al.

  Plaintiffs,

  v.

  THE BOARD OF COUNTY COMMISSIONERS OF JEFFERSON COUNTY, et al.,

  Defendants.


             UNOPPOSED MOTION TO EXCEED PAGE LIMITATION
    TO RESPOND TO FIRST AMENDED COMPLAINT AND JURY DEMAND [ECF 47]


           Defendants Board of County Commissioners of Jefferson County and Jefferson County

  Sheriff Reggie Marinelli (the “Board” and the “Sheriff,” respectively; collectively, the “JeffCo

  Defendants”) hereby move to be permitted to exceed the Court’s page limitation by five (5)

  pages in responding to Plaintiffs’ First Amended Complaint [ECF 47]. In support of this request,

  the JeffCo Defendants state as follows.

          1.     Undersigned counsel conferred regarding this request with Plaintiffs’ counsel,

  who indicated that Plaintiffs do not object to the relief sought herein.

          2.     The JeffCo Defendants are mindful of the Court’s page limitations and guidance,

  CIV. PRACT. STAND. 10.1(c)(1), (3), and undersigned counsel does not routinely seek to extend

  page limitations in motions practice.

          3.     Allowing the JeffCo Defendants an additional five (5) pages, for a total motion

  length of twenty (20) pages, is appropriate in this matter. CIV. PRACT. STAND. 10.1(c)(5) (“The
Case No. 1:23-cv-01607-CNS-STV Document 52 filed 09/13/23 USDC Colorado pg 2 of 3




  Court will entertain motions for extensions of the page limit where appropriate and for good

  cause.”).

         4.      Undersigned counsel highlights the following considerations that weigh in favor

  of such an extension: Plaintiffs’ First Amended Complaint is fifty (50) pages of detailed

  allegations and comprises five (5) distinct claims for relief. Undersigned counsel represents both

  the Board and the Sheriff, who are separately elected public entities with distinct statutory

  authority, and in the case of Plaintiffs’ state law claims, distinct statutes of limitations governing

  claims brought against them. While the JeffCo Defendants share some arguments against

  Plaintiffs’ claims in common, there are also arguments that apply only to the Board or to the

  Sheriff that undersigned counsel must address in responding to the Complaint.

         WHEREFORE, the JeffCo Defendants respectfully request that the Court permit them an

  additional five (5) pages to respond to Plaintiffs’ First Amended Complaint [ECF 47].

         Respectfully submitted this 13th day of September, 2023.

                                                        JEFFERSON COUNTY ATTORNEY’S OFFICE

                                                        /s/ Rebecca P. Klymkowsky
                                                        Rebecca P. Klymkowsky, No. 41673
                                                        Assistant Deputy County Attorney
                                                        Levi Stubbs, No. 50262
                                                        Assistant County Attorney
                                                        100 Jefferson County Parkway, Suite 5500
                                                        Golden, Colorado 80419
                                                        T: 303.271.8932
                                                        E: rklymkow@jeffco.us
                                                        E: lstubbs@jeffco.us
                                                        Attorneys for the JeffCo Defendants
Case No. 1:23-cv-01607-CNS-STV Document 52 filed 09/13/23 USDC Colorado pg 3 of 3




                                CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2023, I filed the foregoing UNOPPOSED
  MOTION TO EXCEED PAGE LIMITATION TO RESPOND TO FIRST AMENDED
  COMPLAINT [ECF 47] via CM/ECF which will serve a true and correct copy upon the
  following:
   Felipe Bohnet-Gomez | fbg@rmlawyers.com       Daniel P. Struck | dstruck@strucklove.com
   Virginia Hill Butler | vb@rmlawyers.com       Ashlee B. Hesman | ahesman@strucklove.com
   Matthew Cron | mc@rmlawyers.com               Kristina R. Rood | krood@strucklove.com
   Siddhartha H. Rathod | sr@rmlawyers.com       STRUCK LOVE BAJANSKI & ACEDO, PLC
   RATHOD MOHAMEDBHAI, LLC                       Attorneys for Wellpath LLC Defendants
   Attorneys for Plaintiffs

                                             /s/ Heather A. Hayward
                                             Heather A. Hayward, Paralegal
